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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

                        Case No. 13-22500-Civ-Altonaga/McAliley


   JONATHAN LORD, M.D.,

           Plaintiff,

   vs.

   UNIVERSITY OF MIAMI,

           Defendant.
                             /




         PLAINTIFF JONATHAN LORD, M.D.’S RENEWED MOTION FOR JUDGMENT
                 AS A MATTER OF LAW AND/OR FOR NEW TRIAL AND
                      INCORPORATED MEMORANDUM OF LAW
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                                           INTRODUCTION
          On October 4, 2022, following an eight-day trial, the jury returned a verdict determining
   that Plaintiff, Jonathan Lord, M.D. (“Dr. Lord”) engaged in protected activity by reporting on,
   raising awareness of, and further investigating billing practices that defrauded the federal
   government and that then-President Donna Shalala (“Dr. Shalala”) knew about his protected
   activity. (D.E. 235). Inexplicably, the jury determined that Dr. Shalala did not terminate Dr. Lord
   because of that protected activity and, thus, the University of Miami (the “University”) did not
   violate the anti-retaliation provision of the False Claims Act (“FCA”).1 The jury got it wrong.
          Pursuant to Fed. R. Civ. P. 50(b), the Court should enter judgment for Dr. Lord in
   accordance with his renewed Rule 50(a) motion (see D.E. 229) and new trial solely on the amount
   of damages.2 No properly instructed jury could have concluded that Dr. Lord’s protected activity
   was not at least one but-for cause of Dr. Shalala’s abrupt decision on Friday, December 21, 2012
   (the Friday preceding Christmas Eve), to take the extraordinary step of breaking the chain of
   command to order then-Dean Pascal Goldschmidt (“Dr. Goldschmidt”) to terminate Dr. Lord’s
   employment. (Ex. 4 at 192:7-14, 218:7-15, 22-25, 261:7-9).
          Dr. Shalala admitted that she acted on Dr. Alan Livingstone’s complaints regarding the
   Immuno-monitoring Lab (“IML”) assessment conducted by independent third-party Transplant
   Management Group (“TMG”) and a fabricated “threat” to use the IML audit against Dr.
   Livingstone if he did not stop the faculty petition. (Id. at 137:2-20, 22-138:1; Pl. Ex. 66). Among
   the “actions” she promised him she would take during their December 21st meeting was to transfer
   oversight of the IML assessment conducted by TMG from Dr. Lord and Chief Medical Compliance
   Officer Dr. Jennifer McCafferty-Fernandez to Internal Audit and the General Counsel’s office


   1
     Emphasis is supplied unless otherwise noted. Further, this motion is accompanied by a Notice of
   Filing the trial transcripts that have been completed: (1) Telephonic Charge Conference, Sept. 15,
   2022 (Ex. 1); (2) Trial Day 2, Sept. 19, 2022 (Ex. 2); Trial Day 3, Sept. 20, 2022 (Ex. 3); Trial
   Day 4, Sept. 21, 2022 (Ex. 4); Trial Day 5, Sept. 22, 2022 (Ex. 5); Trial Day 8, Oct. 3, 2022 (Ex.
   6). Citations to the transcripts are designated as “Ex. __ at Page:Line.” Transcripts for proceedings
   held on September 27, 2022 (Dr. McCafferty-Fernandez’s proffered testimony) and for day six of
   trial on September 23, 2022 (testimony of Dr. McCafferty-Fernandez) were received moments
   before filing and the transcript for day seven of trial on September 30, 2022 (testimony of Dr.
   McCafferty-Fernandez, Natoli, Dr. Ciancio, and Dr. LeBlanc) has not been completed. Dr. Lord
   will amend this motion to add relevant citations when all transcripts are available.
   2
     Dr. Lord also renews his Rule 50(a) motion pertaining to back pay (and interest), mitigation, and
   judicial estoppel, and incorporates the analysis herein. (D.E. 229 at 15-18).

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   (“GC’s Office”). (Ex. 4 at 170:19, 178:1-6, 180:15-18, 181:16, 182:13-21, 183:9-18; Pl. Ex. 99).
   She also promised personnel changes, which could have meant only that she would fire Dr. Lord
   because she admitted she had no role in terminating any other employees. (Id.; Ex. 4 at 191:23-25,
   192:3-9). The competent evidence in this case allows only one inference to be drawn about this
   coincidence: Dr. Lord and the IML assessment were inextricably linked in Dr. Shalala’s mind and
   both actions were taken to protect Dr. Livingstone.
          To be sure, Dr. Shalala was given opportunities to explain this “coincidence” and rebut this
   inference. She came up empty. She testified she followed through on her promises to Dr.
   Livingstone on December 21st because she “was doing a lot of things at the same time.” (Id. at
   183:25-184:2). Further, although she testified transferring oversight of the IML to Internal Audit
   had nothing to do with terminating Dr. Lord’s employment (id. at 183:9-21), she had the foresight
   to announce these decisions at different times. She quickly announced that day that the IML
   assessment would be transferred to Internal Audit and the GC’s Office, but kept top secret (i.e.,
   “[n]othing must leak”) Dr. Lord’s termination for another 10 days. (Id. at 183:2-6; Pl. Ex. 101).
          Further, Dr. Shalala’s testimony about why she decided to terminate Dr. Lord is limited,
   undermined by logic and her own inconsistent testimony, and does not provide a non-retaliatory
   reason for deciding to do so on December 21st. See infra at 10-14. The University tried to
   supplement her threadbare testimony through other witnesses, but none of that testimony mattered.
   Her testimony about what she knew and what factored into her decision is what matters. (Ex. 6 at
   157:1-3; Ex. 4 at 200:20-23 (agreeing jury would have to take her word for it)). Dr. Shalala was
   asked when (December 21) and why she made her decision, and she did not testify about any
   specific conduct/performance issues. For instance, Mark Diaz’s testimony has no significance—
   Dr. Shalala never mentioned Diaz or any concerns with the layoffs’ impact on the “research
   enterprise.” She even testified she had no basis to disagree with Dr. LeBlanc’s praise of Dr. Lord
   regarding the “research and educational mission.” (Id. at 199:16-200:6; Pl. Ex. 162)).
          Alternatively, pursuant to Fed. R. Civ. P. 59(a), the Court should grant a new trial for
   several reasons. First, the verdict was against the great weight of the evidence for the reasons Dr.
   Lord is entitled to judgment as a matter of law. Second, the Court erred and affected Dr. Lord’s
   substantial rights by excluding evidence of the University’s retaliation against Dr. McCafferty-
   Fernandez. Specifically, Dr. McCafferty-Fernandez would have testified that the University
   eliminated her Chief Medical Compliance Officer position and reduced her responsibilities (at



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   best, a lateral move) after she cooperated with the FBI’s investigation of the IML without first
   advising the University. She would have testified (or it could be reasonably inferred) that she did
   that because she grew to distrust the GC’s Office due to concerns with the IML audit and because
   she was criticized by the GC’s Office and Rudy Green (the University’s Chief Compliance Officer)
   for doing too much as part of her compliance efforts.
          Third, the University’s counsel engaged in improper closing argument. This is plain error
   that denied Dr. Lord a fair trial. The University repeatedly argued that there were “15” different
   incidents for which Dr. Lord could have been fired “in the real world,” without tying that evidence
   to the decisionmaker, Dr. Shalala, or her testimony about her claimed reasons for termination, and
   without any care for temporal proximity to the termination decision. See infra at II.d. In fact,
   University counsel barely mentioned Dr. Shalala’s stated reasons for terminating Dr. Lord.
          Adding insult to injury, the University improperly argued that it was Dr. Lord’s burden to
   produce the University’s employee, Dr. Livingstone, and Hilarie Bass as witnesses, even though
   they could have been called by either party. Dr. Livingstone was even an expected witness for the
   University. Then, presumably because it lacked evidence to rebut testimony from Dr. Goldschmidt
   and Dr. McCafferty-Fernandez calling the change in oversight of the assessment to Internal Audit,
   which Dr. Livingstone had lobbied, improper and “highly irregular” and testimony from Dr.
   McCafferty-Fernandez that Mike Moloney, Dr. Goldschmidt, and Rudy Green separately
   expressed concerns regarding the subsequent IML billing audit and the GC’s Office’s involvement
   in changing Internal Audit’s findings over a weekend in May 2013, University counsel inflamed
   the passions of the jury by suggesting that Dr. McCafferty-Fernandez now considered Internal
   Audit and the GC’s Office “evil,” the “devil,” an “evil monster,” and an “evil demon.” (Ex. 6 at
   181:24-182:3, 182:14-15, 191:11-12, 20-25, 192:6-11).
          University counsel also improperly offered his opinion about Dr. Lord’s credibility and the
   justness or viability of his claim, stating that Dr. Lord fabricated his claim as an opportunity to
   collect substantial damages. (Id. at 140:21-24; 141:3-8). Further, University counsel offered
   misleading and irrelevant testimony and argument regarding the termination of other University
   employees who were not involved in protected activity knowing Dr. Shalala had no role in the
   termination. (Id. at 174:17-20; Ex. 4 at 191:23-25).
          Fourth, the jury’s verdict was based on an incorrect application of the “but for” causation
   standard. The jury should have been provided Dr. Lord’s proposed instruction. (See D.E. 161 at



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   37-40 (citing Bostock v. Clayton Cnty., Ga., 140 S. Ct. 1731, 1739 (2020) (noting there can be
   “multiple but-for causes” and Congress “could have added ‘solely’” or “primarily” to the “because
   of” standard); see also United States ex rel. Barrick v. Parker-Migliorini Int’l, LLC, 2022 WL
   901609, at *3 (D. Utah Mar. 25, 2022) (denying new trial based on but-for causation instruction
   in FCA case acknowledging possibility of multiple but-for causes). Instead, the jury was given an
   inadequate but-for causation instruction that, together with the remaining defendant-friendly
   instruction, severely prejudiced Dr. Lord by implementing a heightened standard of proof on Dr.
   Lord that his protected activity was the “but for” cause of his termination. (See D.E. 232 at 4-5).
          Finally, even if any of these errors alone do not warrant a new trial, the impact of these
   cumulative errors does. Accordingly, Dr. Lord is entitled to judgment or a new trial.
                                      MEMORANDUM OF LAW
   I. Dr. Lord is Entitled to Judgment as a Matter of Law3
              a. No Reasonable Juror Could Find That Dr. Shalala Did Not Terminate Dr.
                 Lord’s Employment Because of His Protected Activity.
          The jury correctly determined that Dr. Lord engaged in protected activity and Dr. Shalala
   knew about that activity before deciding to terminate Dr. Lord’s employment on December 21,
   2012.4 The jury, however, determined that Dr. Shalala did not terminate Dr. Lord’s employment
   because of his protected activity. No reasonable jury could have reached this conclusion.
          “[T]he but-for causation standard applies to claims under the antiretaliation provision of
   the False Claims Act[.]” Nesbitt v. Candler Cnty., 945 F.3d 1355, 1359 (11th Cir. 2020). A “but-
   for test directs us to change one thing at a time and see if the outcome changes. If it does, we have
   found a but-for cause.” See Bostock, 140 S.Ct. at 1739. Moreover, as the Supreme Court explained:
          This can be a sweeping standard. Often, events have multiple but-for causes. So,
          for example, if a car accident occurred both because the defendant ran a red light
          and because the plaintiff failed to signal his turn at the intersection, we might call
          each a but-for cause of the collision. . . . When it comes to Title VII, . . . a defendant
          cannot avoid liability just by citing some other factor that contributed to its
          challenged employment decision. So long as the plaintiff’s sex was one but-for
          cause of that decision, that is enough to trigger the law.

   3
     The standard for a renewed Rule 50(b) is the same as the standard in an initial Rule 50(a) motion.
   Hubbard v. BankAtlantic Bancorp, Inc., 688 F.3d 713, 724 (11th Cir. 2012). “[A] mere scintilla of
   evidence does not create a jury question”; “there must be a substantial conflict in evidence.”
   Carruthers v. BSA Adver., Inc., 357 F.3d 1213, 1215 (11th Cir. 2004).
   4
     Dr. Lord incorporates herein the analysis from his Rule 50(a) motion about protected activity,
   his job duties, and Dr. Shalala’s knowledge about his protected activity. (D.E. 229 at 7-11).

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   Bostock, 140 S.Ct. at 1739 (emphasis in original and citation omitted).5 No properly instructed
   jury could reasonably conclude that Dr. Lord’s protected activity was not a but-for cause of Dr.
   Shalala’s extraordinary decision to interfere with Dr. Goldschmidt’s personnel decisions (he did
   not want to terminate Dr. Lord’s employment, see Ex. 5 at 71:6–13), hours after she met with a
   “target” of Dr. Lord’s protected activity (Dr. Livingstone) who was panicking about an audit that
   would address the “serious allegations” of fraud concerning IML “billing practices.” (Ex. 4 at
   187:22-188:1, 190:6-8, 194:11-16, 260:1-9).
          Dr. Shalala Decided to Terminate Dr. Lord’s Employment on Friday, December 21, 2012
   Because of Dr. Lord’s Protected Activity. Dr. Shalala proudly admitted that she recalled Dr.
   Livingstone’s complaints with the IML assessment and a fabricated “threat” to use the IML audit
   against Dr. Livingstone if he did not stop the faculty petition because she “acted on them.” (Id. at
   137:2-20, 22-138:1; Pl. Ex. 66). Contemporaneous documents, including Dr. Livingstone’s
   memorandum, and Dr. Shalala’s testimony tell us how she “acted on them.”
          She promised Dr. Livingstone during her December 21 meeting that she would transfer
   oversight of the IML assessment conducted by TMG from Dr. Lord and Dr. McCafferty-Fernandez
   to Internal Audit and the GC’s Office. (Ex. 4 at 170:19, 178:1-6, 18-:15-18, 181:16, 182:13-21,
   183:9-18; Pl. Ex. 99). And she followed through on that promise later that day. (Pl. Ex. 100). She
   also promised changes in “HR and other areas” were coming. (Pl. Ex. 99). She again followed
   through. She instructed Dr. Goldschmidt to terminate Dr. Lord that same day and had no role in
   firing anyone else. (Id.; Ex. 4 at 191:23-25, 192:3-9). The competent evidence allows only one
   inference regarding this “coincidence”: Dr. Lord and the IML assessment were inextricably linked
   in Dr. Shalala’s mind and she addressed both on the same day to “contain” Dr. Livingstone. (Id.
   at 202:14-203:20, 204:1-4, 23-205:3 (responding “Alan has a big job to get productivity up” and
   “contain him. He has to lead more productivity” to Dr. Goldschmidt’s complaints about Dr.
   Livingstone “destroying everything I built at U.M.” and “there is a decision to be made” and
   testifying that he “was an important senior member of the faculty” who needed to “be part of the
   team to increase [productivity] at the medical school”)).
          Making Dr. Shalala’s motives clearer is her written response to Dr. Lord “just doing his
   job” in a January 18, 2013 memorandum to all members of the Board of Trustees wherein he


   5
    As discussed at II.e., the jury was not instructed that there could be multiple but-for causes of Dr.
   Lord’s firing or that the University could not avoid liability by merely citing contributing factors.

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   stressed the importance of completing a review of the IML and expressly referenced Medicare
   fraud and externally mandated sanctions. (Jt. Ex. 149). While Dr. Goldschmidt, among others,
   praised Dr. Lord repeatedly in writing before and after his termination and presumed he, a double
   alum, would assume a new role within the University, she angrily hastened his exit. (Id.; Ex. 5 at
   117:13–18). She even admitted that her instruction to Dr. Goldschmidt in response to Dr. Lord’s
   memorandum— “[g]ive him his check”—confirmed she did not want Dr. Lord to “hang around”
   and wanted him out as soon as possible. (Ex. 4 at 206:11-21). Why would Dr. Lord’s e-mail to the
   Board anger Dr. Shalala or inspire her to hasten his exit from the University if his protected activity
   had nothing to do with his termination and she “elevated” the review of the IML to Internal Audit,
   which reports to the Board?
          Dr. Shalala was given opportunities to explain the “coincidences” that occurred on
   December 21st. She testified that on December 21st she told Dr. Livingstone that she would take
   these actions and followed through that same day because she “was doing a lot of things at the
   same time, that’s what college presidents do.” (Id. at 183:25-184:2). Further, although she testified
   that the transfer of oversight of the IML to Internal Audit had nothing to do with terminating Dr.
   Lord’s employment (id. at 183:9-21), she had the foresight to announce these decisions at different
   times. She announced on December 21st that the IML assessment would be transferred to Internal
   Audit and the GC’s Office, but kept top secret (i.e., “[n]othing must leak”) Dr. Lord’s termination
   for another 10 days until December 31, 2012. (Id. at 183:2-6; Pl. Ex. 101).
          Moreover, Dr. Shalala’s testimony regarding her motive to transfer oversight of the IML
   to Internal Audit—to “protect” the IML billing audit after Dr. Livingstone reported he received
   the Nemeroff Threat and “created a conflict”—is nonsense. (Ex. 4 at 186:12-24). First, Dr. Shalala
   made these important decisions—terminating Dr. Lord and transferring oversight of the IML
   assessment to Internal Audit and the GC’s Office—while she (and Dr. Livingstone) was concerned
   about being reported to or investigated by the government for fraud or sued in a qui tam action.
   Dr. Shalala admitted the anonymous OIG letter contained serious allegations of billing fraud that
   “raised hair on the back of [her] neck” and framed the scope of the TMG assessment, which raised
   “serious issues . . . about the possibility of – of billing practices.” (Tr. at 187:20–25; 194:11–17
   (review based on “serious allegations”); 234:12-14 (OIG letter “made it very explicit what we
   expected to be covered” by TMG); 235:5–7 (“billing issues . . . involved possible alleged fraud”),
   235:16–18 (OIG letter “raised hair on the back of my neck”); 249:3-8 (Dr. Lord “thought there



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   were deep problems at the IML”); 159:22–160:3 (Dr. Shalala admitting she met with Dr. Lord on
   December 14 to discuss pending TMG report). Dr. McCafferty-Fernandez's “MTI Assessment
   update” (and the cover e-mail (Pl. Ex. 89)), which Dr. Shalala admitted reviewing, also shows that
   TMG’s observations and topics flagged for follow-up were consistent with the allegations raised
   by the Department of Pathology and in the OIG letter (which Dr. Shalala knew about) and other
   “data points" including prior allegations of billing fraud in the IML dating back to August 2011,
   including OIG and DOJ interviews with Philip Ruiz. (Ex. 4 at 166:12-19 (unusually high margins),
   176:13-15 (Dr. Shalala knew Department of Pathology had raised issues about the IML), 239:12-
   14 (Dr. Shalala testifying that Dr. Cote in pathology “had real concerns about the management and
   the substance of what was going on over in surgery”); Pl. Ex. 7, 8, 30, 66, 72, 73, 89 (“unusually
   high margin within the industry and requires additional review” and “post transplant protocols –
   testing is extensive relative to peers”), 93 (“extraordinary revenue growth benefiting the
   department of surgery”), 113; Jt. Ex. 6, 7, 25; Ex. 5 at 56:10-14).
          Second, there was no Nemeroff Threat and, thus, no basis to transfer oversight of the TMG
   Assessment to Internal Audit and the GC’s Office. (Ex. 4 at 186:25-187:3 (admitting transfer
   occurred only because Dr. Livingstone said he received Nemeroff Threat), 188:11-12 )). Dr.
   Livingstone’s memorandum noted Dr. Shalala did not believe Dr. Goldschmidt or Dr. Lord made
   any threat and Dr. Shalala’s testimony suggests she did not believe the TMG Assessment lacked
   integrity. (Pl. Ex. 99; Ex. 4 at 187:5-11 (transferring oversight so the “integrity of the review
   continued”)). Dr. Goldschmidt called the Nemeroff Threat “pure invention and lies,” noted Dr.
   Shalala believed it was a lie, and testified that Charlie Nemeroff swore he did not make any threat.
   (Ex. 5 at 50:3-51:8). And there were additional reasons not to believe Dr. Livingstone or credit his
   allegations. Specifically, there had been several allegations of fraud in the IML well predating the
   petition, the TMG assessment was planned before the OIG letter, and TMG, an independent third-
   party, was recommending additional review of IML billing practices. Further, Dr. Livingstone’s
   other claims regarding the “problems” with the IML review, including that he did not interview or
   meet with TMG and that Dr. McCafferty-Fernandez was using the audit as a weapon, were readily
   discredited. (Ex. 4 at 138:24-139:3 (Dr. Shalala agreeing Dr. McCafferty-Fernandez was not using
   audit as a blunt instrument); 176:21-177:1, 8-9 (noting complaints about not being interviewed
   although his name was on the list of people interviewed by TMG); 177:20-25 (stating she never
   heard concerns that Dr. McCafferty-Fernandez used audits as a weapon)). Finally, once he got



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   what he wanted—oversight of the IML assessment shifted to Internal Audit—Dr. Livingstone
   asked that no one investigate the Nemeroff Threat, even though it is what motivated his offer to
   resign just weeks earlier (Pl. Ex. 72) and Dr. Shalala to express that “no one could use an
   investigation to threaten a member of the faculty.”6 (Id. at 151:9-16 (Dr. Shalala testifying Dr.
   Livingstone threatened to resign because he was upset about the TMG assessment and the threat);
   178:1-9; 149:18-22 (Dr. Livingstone’s request not to investigate the Nemeroff Threat was enough
   to not investigate); 245:17-24 (Dr. Shalala abided by Dr. Livingstone’s wishes not to investigate
   the Nemeroff Threat); 182:7-19 (investigation of “real or implied” threat was unnecessary because
   it could have been “good intentions poorly delivered”); Pl. Ex. 102).
          Naïve, Dr. Shalala was not. She had substantial experience with Medicare fraud. (Ex. 4 at
   215:10-20). But Dr. Shalala’s experience was not required to piece together that TMG’s billing
   audit would likely conclude there was fraud in the IML where there was a series of consistent
   allegations of fraud, an independent third-party's initial observations consistent with those
   allegations, and an unsubstantiated “threat” from Dr. Livingstone coupled with his other efforts
   designed to impede the assessment. So, Dr. Shalala kowtowed to Dr. Livingstone’s request to have
   Internal Audit, the entity he had already lobbied, oversee the IML audit so he, and anyone within
   the IML, would not “challenge” the findings. (Id. at 189:8-9 (audit, “particularly the billing part,”
   had to be “carefully done” so Dr. Livingstone would not question it); 257:6-10 (TMG report “could
   have been challenged” so she wanted to have a “clean report that could never be challenged”);
   258:17-21 (“didn’t know . . . whether anyone else was going to raise an issue”); 259:11-16
   (admitting that only potential challengers of the audit’s integrity were “anyone within that unit”),
   260:1-9 (“Whether it was one person that was going to challenge it or ten people was irrelevant to
   me”), 260:14-17, 18-21 (admitting Dr. Livingstone was the only one challenging the TMG
   assessment’s integrity); Pl. Ex. 66, 99 (lobbying Internal Audit and vouching for IML)).
          This could only mean one thing - Dr. Shalala’s decision to transfer the TMG assessment to
   Internal Audit pacified Dr. Livingstone and allowed him to “lead more productivity” - because it
   strains credulity to believe Dr. Livingstone did not think transferring the audit would help his
   cause. (Ex. 4 at 182:7-19 (Dr. Livingstone was “gratified to hear that oversight of IML
   investigation would be moved to GC/Internal Audit” so he could explain his position); 202:14-


   6
    Dr. Shalala’s failure to investigate a threat to punish a prominent faculty member is incompatible
   with her testimony about her concerns about morale, leadership style, and fear/intimidation.

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    203:20, 204:1-4, 23-205:3 (stating “Alan has a big job to get productivity up” and “contain him.
    He has to lead more productivity” and testifying he “was an important senior member of the
    faculty” who Dr. Goldschmidt needed to “be part of the team to increase [productivity]”).
    According to Dr. Goldschmidt and Dr. McCafferty-Fernandez, Dr. Shalala’s decision to transfer
    the TMG assessment to Internal Audit was improper, disappointing, and “highly irregular,” given
    Mike Moloney’s receipt of the December 9 e-mail from Dr. Livingstone characterizing the review
    as a “witch hunt.” (Ex. 5 at 85:2–12, 91:10–14). Dr. McCafferty-Fernandez even testified she
    would have resigned earlier had she known what motivated Dr. Shalala’s decision.
              Third, Dr. Shalala repeated that the review would be conducted by Internal Audit, free from
    any outside influence, who would be reporting to the Board of Trustees. (Ex. 4 at 188:18-19
    (stating she did not give oversight to herself); 240:17-19 (elevating to Internal Audit and “making
    it more transparent and making certain that it got finished”); 241:23-242:1 (out of her hands when
    she transferred the audit to Internal Audit); 242:18-21 (Internal Audit would not be reporting to
    Dr. Shalala); 243:11-14, 17-20 (“Internal Audit had complete control over it”; no one outside of
    Internal Audit, including Dr. Livingstone, would have influence). This was not true. The opposite
    occurred. Unrebutted testimony from Dr. McCafferty-Fernandez,7 who Dr. LeBlanc and the
    University admitted was a “straight shooter,” showed that removing Dr. Lord and Dr. McCafferty-
    Fernandez from the IML review did not “elevate” the review or shield it from interference or
    influence by, among others, Dr. Livingstone. (See also Pl. Ex. 99 (noting Dr. LeBlanc told Dr.
    Livingstone that “of course . . . [Dr. Livingstone] and whoever else was needed would now be
    involved”)). Specifically, Dr. McCafferty-Fernandez testified that, despite her lack of involvement
    with the IML audit after December 21st, Mike Moloney of Internal Audit, Dr. Goldschmidt, and
    Rudy Green separately asked her in May 2013 about the status of the audit. Moloney, Dr.
    Goldschmidt, and Green also told her that Internal Audit was supposed to report a $3-$4 million
    overpayment to the Board during a Friday Board meeting, but that overpayment was “resolved”
    over the weekend. Each of Moloney, Dr. Goldschmidt, and Green were surprised by this turn of
    events and, thus, expressed concerns about the integrity of the IML audit and GC’s Office’s
    involvement in changing the findings over the weekend. Removing Dr. Lord and Dr. McCafferty-
    Fernandez from the equation did not “protect” the audit. It protected Dr. Livingstone.



    7
        The University chose not to call Blanca Malagon from Internal Audit to testify. (D.E. 160-4).

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           Dr. Shalala’s Reasons for Terminating Dr. Lord are, at Best, Convenient Excuses. Her
    claimed non-retaliatory reasons for terminating Dr. Lord—vague (and undocumented) University
    talking points and buzz words, short on specific examples and lacking in temporal significance—
    fare no better when compared to her own testimony.
           For instance, Dr. Shalala claimed she fired Dr. Lord due to his style of leadership, citing
    low faculty morale following mass layoffs from April to June 2012, the petition (which related to
    the deteriorating relationship with Jackson Memorial Hospital (“Jackson”) that predated Dr. Lord),
    and, what she referred to as the “serious issue,” was lack of communication with Provost Dr.
    Thomas LeBlanc (“Dr. LeBlanc”) and Chief Financial Officer Joseph Natoli (“Natoli”) Natoli.
    (Ex. 4 at 103:14-20 (Dr. Shalala generally stating there were leadership issues and lack of
    communication with Dr. LeBlanc and Natoli; 265:12-19 (citing generally morale, relationship with
    Jackson, faculty disrespect, and refusal to report information to Natoli)).
           Layoffs/Morale. The layoffs and morale issues have no temporal or logical connection to
    Dr. Lord’s termination. Dr. Shalala admitted that the University “had to tighten our belts” and “do
    some layoffs” due to financial conditions Dr. Lord did not cause. (Id. at 221:15-16). The layoffs
    were approved by University leadership and the Board and implemented from April to June
    2012—three months to fire around 400 employees. (Id. at 116:22-117:7 (layoffs approved by
    leadership); 222:4-11 (400 layoffs)). Further, Dr. Shalala and Natoli admitted that the layoffs’
    impact (including how the faculty received them) were immediately known. (Id. at 117:8-118:5
    (confirming she knew about dissatisfaction with how layoffs were handled in June 2012); 223:10-
    12 (noting morale “dropped precipitously” due to layoffs)). Yet, Dr. Shalala did not testify (and
    the University did not introduce documents) that University leadership complained about how the
    layoffs were handled while they were happening. In fact, Dr. Lord received a promotion (and
    $150,000 raise) in a July 3, 2012 letter that credited Dr. Lord with leading a “fiscal and cultural
    turnaround” after the layoffs occurred. (Jt. Ex. 23; Ex. 4 at 118:6-8 (agreeing she approved Dr.
    Lord’s raise)). Dr. Shalala approved the promotion and the wording of the July 3, 2012 letter before
    Dr. Goldschmidt offered it to Dr. Lord. (Id. at 120:11-13, 121:16-25, 122:13-15, 22-24 (admitting
    she approved letter and Dr. Goldschmidt would not have sent it without her approval).
           Petition/Relationship with Jackson. Likewise, the petition has no logical or temporal
    connection to Dr. Lord’s termination. First, despite the University’s efforts to argue otherwise, this
    petition was neither extraordinary nor caused by Dr. Lord. Dr. Shalala testified she had seen



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    petitions before. (Id. at 132:4-9). Dr. Goldschmidt also observed that the petition was like an e-
    mail that faculty circulated years before, and similar petitions had been circulating in other
    universities around the same time due to financial problems. (Pl. Ex. 63; Ex. 5 at 196:5-12).
    Moreover, Dr. Shalala did not respect the faculty’s sacred right to petition like she testified she
    did. Rather, she told Dr. Goldschmidt that she needed to “take them on” with respect to faculty
    intending to call for a vote of no confidence respecting Dr. Goldschmidt. (Ex. 4 at 160:15-161:9
    (claimed she would not “fix the petition” at Dr. Goldschmidt’s request but agreed she e-mailed
    that “we need to take them on” in reference to faculty vote)). Moreover, on July 14, 2014, well
    after Dr. Lord’s termination, she intervened to prevent the faculty from removing Dr. Goldschmidt
    based on the same issues presented in the petition. (Id. at 161:25-163-9; Ex. 5 185:21-25, 186:22-
    25 (faculty on “warpath” to remove him based on same issues)). She even admitted the faculty
    petition and morale issues were not the “serious issue(s).” The “serious issue” was the lack of
    communication with Natoli and Dr. LeBlanc, discussed below.
           The fact that Dr. Livingstone was driving the petition also undermines the “extraordinary”
    nature of the petition. Dr. Shalala testified she did not dispute that Dr. Livingstone was behind the
    petition, was not surprised by his involvement because of the references to the relationship with
    Jackson and knew Dr. Livingstone was upset about that, and accepted Dr. Goldschmidt’s statement
    that Dr. Livingstone was pressuring faculty to sign the petition. (Id. at 129:1-6 (does not dispute
    that Livingstone was behind petition); 130:12-20 (not surprised by Livingstone’s involvement);
    131:22-25 (she accepted Dr. Goldschmidt’s statement that Dr. Livingstone was pressuring faculty
    to sign the petition); 154:19 (knew Dr. Livingstone was upset about relationship with Jackson);
    277:6-9 (Dr. Goldschmidt noting Dr. Livingstone had substantially following with faculty working
    at Jackson)). Dr. Goldschmidt testified that the petition was related to a specific issue with
    Jackson—a “situation that we had with the pediatric department . . . the conditions for performing
    bone marrow at Jackson . . . were not compatible with safe bone marrow transplant” and, thus,
    “we had to move our bone marrow program transiently to another hospital . . . that created a huge
    reaction on the part of the faculty working at Jackson.” (Ex. 5 at 45:16-46:23). Dr. Livingstone’s
    memorandum confirmed he discussed that issue with Dr. Shalala and that, “[w]ithin 15 min. of her
    leaving the office,” she apparently had already spoken to Dr. Goldschmidt to dispel rumors about
    moving pediatric bone marrow transplant to another hospital. (Pl. Ex. 99).
           Dr. Shalala eventually realized why Dr. Lord’s counsel was asking these questions and



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    angrily replied, “so what,” about Dr. Livingstone’s involvement with the petition. (Id. at 156:24-
    157:3). So what? Whether Dr. Livingstone was driving the petition (and pressuring others to sign)
    is critical. Dr. Livingstone being behind the petition, pressuring faculty to sign, and fabricating the
    Nemeroff Threat, would be evidence of Dr. Livingstone’s guilty conscience that the TMG
    assessment was about to corroborate the Medicare fraud allegations. Moreover, the motivations
    behind the petition and pressuring faculty to sign (as Dr. Goldschmidt testified and Dr. Shalala
    accepted), including an axe to grind with Dr. Goldschmidt and the ever-mounting pressure of the
    TMG assessment, would undermine Dr. Shalala’s claims regarding the state of Dr. Lord’s impact
    on faculty morale. (Ex. 5 at 43:15-22, 44:16-22). In fact, it would undermine the shock value of
    the number of faculty members who may have signed the petition.
           Second, Dr. Goldschmidt wrote that the petition had to do with fear of changes with the
    nature of the relationship with Jackson (Pl. Ex. 63), which Dr. Shalala claimed was “poisoned” by
    Dr. Lord. (Ex. 4 at 224:9-12). However, Dr. Shalala admitted the relationship with Jackson was
    “not great” before Dr. Lord and that “it was going to be a very tough road to get proper payments
    from them” despite her close personal friendship with its CEO. (Id. at 221:2-9). Further, multiple
    witnesses confirmed that the changing nature of the University’s relationship with Jackson
    preexisted Dr. Lord’s employment. (Id. at 278:22-279:25 (Dr. Goldschmidt describing tensions
    between Jackson and University dating to 2006)). And Dr. Goldschmidt testified that Dr. Lord did
    not poison the relationship with Jackson. (Ex. 5 at 203:21-23).
           Third, Dr. Shalala believed different parts of the petition related to Dr. Lord. She claimed
    the petition had to do with faculty’s concerns with the substance and style of Dr. Lord’s leadership,
    but admitted that the petition, which stated the University needed a new dean (not COO), did not
    say anything about the layoffs or Dr. Lord’s leadership style. (Id. at 125:9-13 (agreeing her
    understanding of the petition was “her words” and not expressed in the petition)). Notably, Dr.
    Shalala claimed her immediate interpretation of the petition (that it was issues with Dr. Lord) was
    based on her receipt of complaints from faculty members, suggesting she knew of the issues
    referenced in the petition well before she saw the petition on December 6. (Id. at 225:6-14 (“I
    received a lot of complaints” and “I often talked to individual faculty members – I spent a lot of
    time down there” and they were “fearful and unhappy”); 229:7-9 (she became aware of petition
    on December 6); 230:2-10 (learned of the petition on December 6, but immediately claiming it
    was related to Dr. Lord); Pl. Ex. 36 (unsolicited October email from Dr. Peruzzi praising Dr.



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    Goldschmidt’s and Dr. Lord’s leadership amidst layoffs)).
              Fourth, Dr. Shalala’s decision had nothing to do with research enterprise issues. She never
    mentioned research budgets or issues. She even admitted she had no reason to disagree with Dr.
    LeBlanc’s January 5, 2013 email praising Dr. Lord about “sizing the research and educational
    mission to the margins produced by the clinical enterprise." (Id. at 199:16-200:6; Pl. Ex. 162).
              Dr. Lord Did Not Cut Off Communications with Natoli and Dr. LeBlanc. As noted above,
    Dr. Shalala testified that the “serious issue” with Dr. Lord was communication with Natoli and Dr.
    LeBlanc (Diaz was not mentioned). (Ex. 4 at 104:8-11, 12-16 (“serious issue” was communication
    with Natoli and Dr. LeBlanc); 185:20-186:3 (distinguishing termination of previous COO by
    stating he did not have issues communicating with Natoli); 200:7-13 (communication issues with
    Natoli “extremely important”); 224:18-225:2 (“basically” cut off communications with Natoli).
    However, Dr. LeBlanc testified he was not aware of any cutoff in communications. And Natoli
    admitted that he and Dr. Lord had to continue communicating (despite the deterioration of their
    social relationship following their dispute in June 2012) because they could not do their jobs
    without communicating. Moreover, Dr. Shalala was aware of issues with Natoli’s relationship with
    Dr. Lord as early as August 2012, months before Dr. Shalala terminated Dr. Lord.
              Ultimately, Dr. Shalala’s testimony does not stand up to the test of time. Everything she
    cited as an explanation for her decision to terminate Dr. Lord on December 21st was known to her
    before his promotion on July 3, 2012 or several months before (and after she invited him to an
    exclusive event at her home in early December). For instance, she claimed that she already had
    “deep concerns” regarding Dr. Lord’s “style of leadership” before his promotion, but admitting
    she reviewed and approved the content in the July 3, 2012 letter and the raise. (Id. at 120:11-13,
    121:16-25, 122:13-15, 22-24). She also cited faculty morale as a reason for her decision. (Id. at
    247:13-248:6 (stating that, despite financial strides, morale was low)). However, Dr. Shalala
    admitted that morale was poor before Dr. Lord became COO because “everyone was feeling the
    pressure” (id. at 264:12-15), she expected morale to drop due to layoffs (id. at 264:21-265:1), and
    she knew the effects of the layoffs immediately, which was before Dr. Lord’s promotion. (Id. at
    117:8-118:5 (admitting she knew about dissatisfaction with how layoffs were handled by June
    2012); 223:10-12 (morale “dropped precipitously” due to layoffs)).8



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        She admitted changes in morale took a long time after Dr. Lord was fired. (Id. at 250:24-251:2).

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           Finally, Dr. Shalala did not fire Dr. Lord on December 6th when she first became aware of
    the petition, December 9th when Dr. Livingstone claimed to have received the Nemeroff Threat,
    December 11th when Dr. Livingstone tried to resign, December 14th when she learned certain
    faculty were trying to convene a vote regarding Dr. Goldschmidt (not Dr. Lord), or December 15th
    when she learned 485 faculty members had signed the petition. Instead, she fired him two days
    after she reviewed Dr. McCafferty-Fernandez's memorandum, and within hours following her
    meeting with Dr. Livingstone. (Id. at 161:10-12 (had not decided to terminate Dr. Lord by
    December 14th); 169:3-7 (had not decided to terminate Dr. Lord on December 19th).
       II. Alternatively, Dr. Lord is Entitled to a New Trial
               a. Legal Standard.
           The Court may grant a new trial for any reason for which a new trial has previously been
    granted. Fed. R. Civ. P. 59(a); Montgomery Ward & Co. v. Duncan, 311 U.S. 243, 251 (1940);
    Charles A. Wright & Arthur R. Miller, et al., 11 Fed. Prac. & Proc. Civ. § 2805 (3d ed. 2013) (any
    prejudicial legal error “is a good ground for a new trial”). The Court may weigh the evidence and
    grant a new trial if the verdict is against the great weight of the evidence. Ard v. Sw. Forest Indus.,
    849 F.2d 517, 520 (11th Cir. 1988). That decision “is a matter confided almost entirely to the [trial
    court’s] exercise of discretion.” Allied Chem. Corp. v. Daiflon, Inc., 449 U.S. 33, 36 (1980).
               b. The Verdict Is Contrary to the Great Weight of the Evidence
           For the reasons expressed at point I.a., Dr. Lord is entitled to a new trial on causation and
    damages because the October 4, 2022 verdict is contrary to the great weight of the evidence, which
    shows that Dr. Lord’s protected activity was a but-for cause of Dr. Shalala’s decision to terminate
    his employment on December 21, 2012.
               c. The Court Incorrectly Excluded Proffered Retaliation Evidence.
           To prevail on a motion for new trial, Dr. Lord must show that he was substantially
    prejudiced by an erroneous evidentiary ruling. Mendez v. Unitrin Direct Prop. & Cas. Ins. Co.,
    622 F. Supp. 2d 1233, 1238–39 (M.D. Fla. 2007) (citing SEB S.A. v. Sunbeam Corp., 148 F. App’x
    774, 790 (11th Cir. 2005) (denying motion requires court to “say with fair assurance” that
    judgment was not substantially swayed by error)). The inquiry, then, is “how much of an effect
    did the improperly . . . excluded evidence have on the verdict?” Peat v. Vanguard Research, Inc.,
    378 F.3d 1154, 1162 (11th Cir. 2004). The verdict here was substantially swayed by the exclusion
    of retaliation evidence relating to Dr. McCafferty-Fernandez.



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           The University introduced testimony that (i) Dr. Shalala encouraged employees to report
    fraud, would fire them if they did not report fraud, and had never retaliated against anyone (Ex. 4
    at 216:19-22, 23-25, 217:6-8, 9-18), (ii) the University takes reports of suspected fraud seriously
    (id. at 216:15-18, (iii) others, such as Dr. Sheri Keitz, were not involved in the TMG assessment
    but had been terminated (but not by Dr. Shalala) (Ex. 5 at 184:7-17), and (iv) Dr. Shalala
    transferred oversight of the assessment to Internal Audit to “elevate” and “protect” it (Ex. 4 at
    186:12-24). Yet, evidence of retaliation against Dr. McCafferty-Fernandez was excluded.
           Dr. McCafferty-Fernandez would have testified that the University eliminated her position
    and reduced her duties (at best, a lateral move) after she cooperated with the FBI’s IML
    investigation without first advising the University. (See D.E. 173 at 18-19 (citing deposition
    testimony)). She would have testified (or from her testimony it could be reasonably inferred) that
    she took that action because she grew to distrust the GC’s Office based on concerns with the IML
    billing audit and was increasingly criticized by the GC’s Office and Rudy Green (the University’s
    Chief Compliance Officer) for doing too much as part of her compliance efforts.
           This evidence was also relevant to show Dr. Shalala’s and leadership’s motivation to avoid
    the consequences of a government investigation. (See id. at 36-37 (noting “arguably retaliatory
    treatment of McCafferty . . . lends further support” to theory that Dr. Shalala was motivated by
    fear of liability)). Improper exclusion of this testimony affected Dr. Lord’s substantial rights.
               d. The University’s Closing Argument Constituted Plain Error.
           Dr. Lord did not object to the University’s closing argument. But this does not forfeit his
    ability to seek a new trial because “the interest of substantial justice is at stake.” McWhorter v.
    Birmingham, 906 F.2d 674, 677 (11th Cir. 1990); Christopher v. Fla., 449 F.3d 1360, 1366 (11th
    Cir. 2006). The standard to set aside a jury verdict on this basis is whether counsel’s conduct
    impaired the jury’s dispassionate consideration of the case. BankAtl. v. Blythe Eastman Paine
    Webber, Inc., 955 F.2d 1467, 1474 (11th Cir. 1992). This standard is easily met here.
           The University barely mentioned Dr. Shalala’s own testimony concerning her reasons for
    terminating Dr. Lord, and did not mention the date of her decision. Instead, the University
    mischaracterized evidence and mislead the jury about the proper considerations to determine
    causation. The University repeatedly argued there were “15” different incidents for which Dr. Lord
    could have been fired “in the real world,” and did not tie that, logically or temporally, to Dr.
    Shalala’s termination decision or testimony. (Ex. 6 at 162:15-16, 163:3-7, 169:15-16 (mentioning



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    Diaz’s research enterprise testimony as “another basis to terminate Jack Lord”); 163:18, 165:2-4
    (June 2012 argument with Natoli “alone would be a basis to fire Dr. Lord”); 166:18-22, 167:3-5
    (Dr. Lord’s “loser sign” was “sufficient basis on which to fire Jack Lord”); 167:8-14 (email
    referring to Nemeroff as a “sycophant” was “basis to terminate someone in the real world”);
    167:22-25 (Dr. Lord pounding the table at April 2012 meeting was basis to terminate Dr. Lord);
    175:9-10 (“Any one of those 15 examples . . . , any of them alone would support the firing of Jack
    Lord”); 178:4-6 (“too many incidents that built up that resulted in his termination”); 178:18-21
    (“he could be fired for his misconduct”); 141:8, 141:15-16, 145:9-11, 175:14-15, 178:18-21 (citing
    generally “conduct,” “misconduct,” or “performance” as reasons for termination)). Identifying
    instances when Dr. Lord could have been fired is irrelevant and prejudicial. What Dr. Shalala knew
    and why she says she fired him is what matters. The University knows this. (Ex. 6 at 157:1-3).
           The University compounded this error by improperly arguing that it was Dr. Lord’s burden
    to call Dr. Livingstone, a University employee, and Hilarie Bass as witnesses, even though the
    University disclosed Dr. Livingstone as a potential witness and both were equally available to the
    University. (Ex. 6 at 142:10-20, 143:13-16; 143:21-25; D.E. 160-4); see United States v. Richard,
    678 F. App’x 927, 941 (11th Cir. 2017) (quoting United States v. Chapman, 435 F.2d 1245, 1247
    (5th Cir. 1970) (“[A]ny inference from a party’s failure to call a certain witness equally available
    to both parties is impermissible.”)).9 Then, without evidence to rebut testimony that (i) Internal
    Audit had a conflict due to Dr. Livingstone’s outreach to Mike Moloney of Internal Audit (Ex. 5
    at 91:10-14), (ii) Dr. Shalala’s decision to transfer oversight to Internal Audit based on the
    Nemeroff Threat was “highly irregular” and, had Dr. McCafferty-Fernandez known, would have
    caused her to resign sooner, and (iii) Moloney, Dr. Goldschmidt, and Rudy Green separately
    expressed concerns regarding the subsequent IML billing audit and the GC’s Office’s involvement
    in changing Internal Audit’s findings over a weekend in May 2013, University counsel
    mischaracterized the Internal Audit’s and the GC’s Office’s involvement in the TMG assessment
    and assured itself the jury would not be dispassionate by suggesting that Dr. McCafferty-
    Fernandez now considered Internal Audit and the GC’s Office “evil,” the “devil,” an “evil
    monster,” and an “evil demon.” (Ex. 6 at 181:24-182:3, 182:14-15, 191:11-12, 20-25, 192:6-11).
           University counsel also gave his opinion about Dr. Lord’s credibility and the justness or


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     See also Haliburton v. State, 561 So. 2d 248, 250 (Fla. 1990) (no inferences from or comments
    made on failure of either party to call equally available witness).

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    viability of his claim, starting his closing argument stating Dr. Lord, consistent with his
    “opportunistic” character, fabricated his claim to collect substantial damages. (Id. at 140:21-24;
    141:3-8). This is improper and prejudicial. See Fla. R Regulating Fla. Bar 4-3.4(e) (prohibiting
    from giving personal opinions about credibility of a witness, alluding to any matter that the lawyer
    does not reasonably believe is relevant, or stating opinion as to the justness of a cause). Further,
    University counsel knowingly offered misleading and irrelevant argument regarding the
    termination of other University employees who were not involved in protected activity despite
    knowing that Dr. Shalala had nothing to do with their termination. (Ex. 6 at 174:17-20; Ex. 4 at
    191:23-25). The University’s improper closing argument entitles Dr. Lord to a new trial.
                e. The But-For Causation Instruction Improperly Advised the Jury.
            Trial courts are given wide discretion regarding jury instructions “so long as they
    accurately reflect the law.” Carter v. DecisionOne Corp. Through C.T. Corp. Sys., 122 F.3d 997,
    1005 (11th Cir. 1997) (quoting Bateman v. Mnemonics, Inc., 79 F.3d 1532, 1543 (11th Cir. 1996)).
    Moreover, its instructions may not “mislead the jury to the prejudice of the objecting party.” Tran
    v. Toyota Motor Corp., 420 F.3d 1310, 1312, 1314 (11th Cir. 2005) (reversing for new trial
    “because the jury was not aware that consumer expectations was an adequate and independent
    basis for liability, rather than merely one factor among many in the risk-utility balance” and the
    instructions prevented plaintiff was “unable to argue that unmet consumer expectations were an
    independently sufficient basis for liability” due to the instruction and, thus, the court could not say
    that the jury understood the issues and were not misled); see also United States v. AseraCare Inc,
    153 F. Supp. 3d 1372, 1384–85 (N.D. Ala. 2015) (granting new trial where FCA instructions
    contained “correct statements of law” but “were incomplete” and, thus, the court substantially
    doubted whether the jury had proper guidance), aff’d , 938 F.3d 1278 (11th Cir. 2019). Here,
    despite hearing substantial evidence that Dr. Lord was terminated because of his protected activity
    on December 21st. the jury found that Dr. Lord’s employment was not terminated because of his
    protected activity. The jury got it wrong, and it is because it did not have proper guidance due to
    an incomplete and misleading but-for causation instruction.
            Prior to the September 15, 2022 Charge Conference, Dr. Lord proposed a modified version
    of the but-for causation instruction in the Eleventh Circuit Pattern Instructions, Civil, 4.22 for Title
    VII claims (the “Pattern Instruction”) because the explanation of but-for causation was wrong
    (defining “because of” to mean “main reason”) and inadequate. (D.E. 161 at 37-40 (modifying



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    Pattern Instruction ). Principally, Dr. Lord proposed that the Court instruct the jury that it “need
    not find that the only reason” his employment was terminated was his protected activity and
           events often have multiple “but-for” causes. For example, if a car accident
           occurred both because the defendant ran a red light and because the plaintiff failed
           to signal his turn at the intersection, we might call each a “but-for” cause of the
           collision. Thus, you may find the University of Miami terminated Dr. Lord because
           of his protected activity if you determine that Dr. Lord’s management style and
           the faculty Petition contributed to the University of Miami’s decision to terminate
           Dr. Lord, so long as you conclude that Dr. Lord’s protected activity was one but-
           for cause of that decision. . . .
    (D.E. 161 at 39). The modifications to the Pattern Instruction were pulled from Bostock, 140 S.Ct.
    at 1739. There, the Supreme Court addressed the but-for causation standard as applied to Title VII
    retaliation claims. It noted that the but-for causation test “can be a sweeping standard” because
    “[o]ften, events have multiple but-for causes.” Id. The Supreme Court explained, “if a car accident
    occurred both because the defendant ran a red light and because the plaintiff failed to signal his
    turn at the intersection, we might call each a but-for cause of the collision.” Id. (emphasis in
    original) (citing Burrage v. United States, 571 U.S. 204, 211–212 (2014)). Thus, “the adoption of
    the traditional but-for causation standard means a defendant cannot avoid liability just by citing
    some other factor that contributed to” an employer’s challenged decision so long as the protected
    activity “was one but-for cause of that decision.” Id. (emphasis in original).
           The Supreme Court also rejected the argument that “because of” meant the protected
    activity had to be the only or main reason of the adverse action, explaining that Congress “could
    have added ‘solely’ to indicate that actions taken ‘because of’ the confluence of multiple factors
    do not violate the law” or “could have written ‘primarily because of’ to indicate that the prohibited
    factor had to be the main cause of the defendant’s challenged employment decision.” Id.
           At the Charge Conference, Dr. Lord first addressed the parties’ competing but-for
    instructions by noting the “main reason” part of the Pattern Instruction (“[Y]ou must decide
    whether [name of plaintiff]’s protected activity was the main reason for [name of defendant]’s
    decision”) is an incorrect statement of the law. (Ex. 1 at 49:11-50:8). The Court acknowledged Dr.
    Lord’s objection but concluded it would use the pattern language when the University confirmed
    the “main reason” language was in the Pattern Instruction. (Id. at 50:23-24). Still concerned, Dr.
    Lord repeated that the instruction is “giving the wrong impression to the jury that the decision has
    to be – the retaliatory reason has to be the main reason.” (Id. at 51:8-17).
           Dr. Lord repeated the objection because equating “because of” to “main reason” precluded


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    Dr. Lord from arguing that his protected activity could be one of multiple but-for causes of Dr.
    Shalala’s decision to terminate his employment because there cannot be more than one “main
    reason.” Importantly, this was the operative instruction to be read to the jury through most of Dr.
    Lord’s closing argument (D.E. 224 at 29-30 (the “Original Instruction”), including through Dr.
    Lord’s counsel’s argument addressing causation. (Ex. 6 at 114:8-120:7 (discussing causation).
    This severely prejudiced Dr. Lord and undermined his trial strategy.
           After Dr. Lord had already addressed causation in his closing argument (and during a
    break), the Court, citing Dr. Lord’s Rule 50(a) motion (D.E. 229 at n.2)), proposed changing the
    “main reason” part of the Original Instruction to “you must decide whether Dr. Lord’s protected
    activity was the main reason or a motivating factor for the University of Miami’s termination
    decision” (the “Revised Instruction”). (Ex. 6 at 125:5-20 (announcing proposed edits)). The Court
    also proposed adding a special interrogatory asking the jury to decide, if Dr. Shalala’s termination
    decision was “because of” Dr. Lord’s protected activity, to indicate whether it was the “main
    reason” or a “motivating factor.” The Court’s Revised Instruction did not address Dr. Lord's
    concerns reflected in his proposed instruction and the parties’ counsel agreed that the Revised
    Instruction would have invited reversible error because the Eleventh Circuit had already rejected
    the “motivating factor” standard for FCA retaliation claims. See Nesbitt, 945 F.3d at 1357 (holding
    that a “but-for” causation standard, not a motivating factor standard, applies to FCA retaliation
    claims)); (Ex. 6 at 126:13-14). Understanding the Court’s desire to address only the “main reason”
    part of the instruction (and not another charge conference), Dr. Lord agreed with the University
    to ask the Court to delete the “main reason” line from the Original Instruction and not to add the
    proposed special interrogatory. (Id. at 126:14-22) 10.
           As a result, the jury was read a limited and pro-defendant instruction that stated the “but-
    for” causation standard required the jury to “decide that the University would not have taken the
    action had Dr. Lord not engaged in the protected activity but everything else had been the same”
    while also suggesting Dr. Lord had to prove the University’s claimed non-retaliatory reasons for
    termination were “so unbelievable that they were a cover-up to hide the true retaliatory reasons for
    the decision.” (D.E. 232 (the “Final Instruction”)). The jury had no guidance regarding proper


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      The Court clarified the parties did not want the Court “to ask the jury whether it finds that any
    protected activity was the reason or motivating factor for the terminating decision” and the parties
    confirmed neither would raise that specific issue in a post-verdict motion. (Id. at 200:9-11, 15-19).

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    application of but-for causation and the Final Instruction gave Dr. Lord an insurmountable burden
    of proof. The Court should grant a new trial. See Tran, 420 F.3d at 1312, 1314 (reversing for new
    trial because jury was not instructed on proper standard of liability and error limited plaintiff’s
    argument to jury); AseraCare Inc, 153 F. Supp. 3d at 1384–85 (new trial warranted because court
    had substantial doubt whether jury had proper guidance due to incomplete instructions).
                f. All Errors in the Aggregate Support Granting a New Trial.
            The district court is afforded “wide discretion” in granting a new trial “where a
    combination of factors, which could have caused the jury to reach a possible erroneous verdict,
    [lead] the court to conclude that a new trial [i]s necessary.” Deas v. PACCAR, Inc., 775 F.2d 1498,
    1505 (11th Cir. 1985). Thus, even when one error might not warrant a new trial, cumulative error
    may. See, e.g., United States v. Baker, 432 F.3d 1189, 1223 (11th Cir. 2005) (aggregation of non-
    reversible errors (i.e., plain errors failing to necessitate reversal and harmless errors) can yield a
    denial of the constitutional right to a fair trial); Mendez v. Unitrin Direct Prop. & Cas. Ins. Co.,
    622 F. Supp. 2d 1233, 1239 (M.D. Fla. 2007) (errors in combination “produced a substantial
    prejudicial effect” so court could not be fairly assured jury’s verdict was not substantially swayed
    by the combination of errors). Therefore, even if the Court were to determine that no one ground
    justified a new trial, the various grounds asserted here, in combination, should.
                                              CONCLUSION
            For the foregoing reasons, Dr. Lord is entitled to judgment as a matter of law or, in the
    alternative, a new trial.




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    Dated: November 1, 2022                         Respectfully Submitted,

                                                     STUMPHAUZER FOSLID SLOMAN
                                                     ROSS & KOLAYA, PLLC
                                                     Two South Biscayne Boulevard, Suite 1600
                                                     Miami, Florida 33131
                                                     Tel.: (305) 614-1400
                                                     Fax: (305) 614-1425

                                                     By: /s/ Jorge Pérez Santiago
                                                     JEFFREY H. SLOMAN
                                                     Florida Bar No. 378879
                                                     jsloman@sfslaw.com
                                                     JORGE A. PÉREZ SANTIAGO
                                                     Florida Bar No. 91915
                                                     jperezsantiago@sfslaw.com
                                                     JENNIFER M. HERNANDEZ
                                                     Florida Bar No. 1018836
                                                     jhernandez@sfslaw.com
                                                     Counsel for Plaintiff Dr. Lord


                        CERTIFICATE OF GOOD FAITH CONFERENCE

           Pursuant to Local Rule 7.1(a)(3), I HEREBY CERTIFY that counsel for Dr. Lord conferred
    with the University’s counsel, and are authorized to represent the University opposes the relief
    requested herein.
                                                               /s/ Jorge Pérez Santiago
                                                               JORGE PÉREZ SANTIAGO


                                   CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on November 1, 2022, I filed the foregoing document on
    CM/ECF causing a copy to be served on all counsel of record via electronic mail.
                                                               /s/ Jorge Pérez Santiago
                                                               JORGE PÉREZ SANTIAGO




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